Case 22-33282 Document5 Filed in TXSB on 11/01/22

1 PERG RCC CUlG a celtic eCeU eR UR LLL? B

 

Rachel P Gallegos

 

 

Debtor 1
First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Nara Last Name
United States Bankruptcy Court fer the: Southern District of Texas i {

ww
Case number

 

Official Form 106A/B
Schedule A/B: Property

 

Page Unites eres Courts

Southern Distr;
trict of Tex
FILED

NOV 0 f 2022

Nathan Ochsney, Clerk of Court"

() Check if this is an
amended filing

12/15

 

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the

category where you think it fits best, Be as complete and accurate as possible. If two married
responsible for supplying correct information. If more space is needed, attach a separate shee

write your name and case number (if known). Answer every question.

people are filing together, both are equally
t to this form. On the top of any additional pages,

| a Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

C1 No. Go to Part 2.
Q) Yes. Where is the property?

4.4, 2210 Briarstone Bluff Crossing

Street address, if available, or other description

 

 

 

 

Houston TX 77089
Cily State ZIP Code
Harris

County

If you own or have more than one, list here:

42, 7844 Ford

Street address, if available, or other description

 

 

 

 

Houston TX 77012
City State ZIP Code
Harris
County

 

Official Form 106A/B

What is the property? Check all that apply.
wf Single-family home

LY Duplex or multi-unit building

{1 Condominium or cooperative

LJ Manufactured or mobite home

Q) Land

C2 Investment property

L] Timeshare

LL) other

 

Who has an interest in the property? Check one.

4. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims.on Schedule Dr
Creditors Who Have Claims Secured by Property.
Current value of the Current value of the
entire property? portion you own?

¢ 527,603.00 ¢ 527,663.00

 

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

U1 Debtor 4 only

CL) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

C) At feast one of the debtors and another

UO) check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

What is the property? Check all that apply.
uw Single-family home
U1 Duptex or multi-unit building

() Condominium or cooperative
{] Manufactured er mebile home
L) Land

) Investment property

UJ timeshare

LI other

Who has an interest in the property? Check cne.

 

Do not deduct secured claims or exemptions. Put
the.amount.of any secured claims on Schedule D:
Creditors Who ‘Have Claims Secured by Property.

iste eA ane ded, Mine pr TOMER SRE statement hy ta

Current value of the Current value of the
entire property? portion you own?

5 175,000.00 ¢ _ 175,000.00

 

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

L) Debtor 1 only

CL) Debtor 2 only

(3 Debtor 1 and Debtor 2 only

At least one of the debtors and another

LU Check if this Is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Schedule A/B: Property

page 1

 

 
Rachel wr SG1aga8 2282 Document 5 Filed in TXSB on 24/01/22, Page 2 of 10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 own)
First Name Middle Name Last Nama
|
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put |
' fam) the amount of any secured claims on Schedule D:
4.3. 7802 Ford 1 Single-family home Creditors Who Have Claims Secured by Property.
Street address, if available, or other description Q Duplex or multi-unit building “— aes
© condominium or cooperative Current value of the Current value of the ;
O Manufactured bite h entire property? portion you own? :
anufactured or mobile home
OO tend 5 140,000.00 ¢ _ 140,000.00|
Houston Tx 77012 CJ Investment property
City State ZIP Code O] Timeshare Describe the nature of your ownership {
g interest (such as fee simple, tenancy by
Other the entireties, or a life estate), If known,
Who has an interest in the property? Check one.
Harris 2 Debtor 1 only
County C) Debtor 2 cnty |
() Debtor 1 and Debtor 2 only L) Check if this is community property |
CO Atleast one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
>. Add the dollar vatue of the portion you own for all of your entries from Part 1, including any entries for pages $ 842,663.00
you have attached for Part 1. Write that number here. ......0::06+ ch yeeeseeeerenee devteeesensnens daeeeeseeeeeeate vey easeneer tenses daneeeores >

 

 

Ee Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

3, Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
Cl] Yes
: \
. . t
3.1, Make: Who has an interest in the property? Check one. Dg not deduct secured claims or exemptions. Put:
0) Debter 4 on! the amount.of any secured claims an Schedule D:
Model: gg eblor 7 only Credifors Who Have Claims Secured by Property.
Debtor 2 only “
Year:
——_ QO] debtor 1 and Debtor 2 only Curren of the CT va own?
Approximate mileage: ______ 1 At least one of the debtors and another property
Other information:
U] check if this is community property (see $ 3
instructions)
If you own or have more than one, describe here:
3.2, Make: Who has an interest in the property? Check ons. 9 not deduct secured claims or exemptions, Put
Cd Debtor 4 onl the amount of any secured claims on Schedule D:
Model: ebtor * only Creditors: Who Have Claims Secured by Property. |
y ) Debtor 2 only 7 ey
ear:
O Debtor 4 and Debtor 2 only Current value ofthe Ceition you own? |
Approximate mileage: _____. C2 At least one of the debtors and another |
Other information:
C1 Check If this is community property (see 5 $ |
instructions) i
4
| |

Official Form 106A/B Schedule A/B: Property page 2
 

Rachel © A8Snegos 2787 Document 5 Filed in TXSB on V1V/O/22 Page 3 of 10

 

 

 

Debtor 1 Case number (known)
First Name Middle Name Last Name
3.3, Make: Who has an interest in the property? Check one. - Do not deduct secured claims or exemptions. Put
O Debtor 1 on! the amount of any secured claims on Schedule D:
Mode!: ebtor 1 only Creditors-Who Have Claims Secured by Property.
y. (1 Debtor 2 only nari
ear:

Approximate mileage:

Other information:

 

 

 

 

3.4, Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

No
L] Yes

4.1, Make:
Model:

 

Year:

Other Information:

 

 

 

 

42, Make:
Model:
Year:

Other information:

If you own or have more than one, list here:

 

 

 

 

 

 

Official Form 106A/B

() Debtor 1 and Debtor 2 only
CO At least one of the debtors and another

2) Check if this Is community property (see
instructions)

Who has an interest in the property? Check one.

CY Debtor 1 only

OC) Debtor 2 only

Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

C) Cheek if this is community property (see
instructions)

Who has an interest in the property? Check one.

L) Debtor 1 only

©) Debtor 2 only

C1) Debtor 1 and Debtor 2 only

OC) At least one of the debtors and another

OC check if this is community property (see
instructions)

Who has an interest in the property? Check one.

L] Debtor 4 only

C1) Debtor 2 only

CI Debtor 1 and Debtor 2 only

() At least one of the debtors and another

OC) Check if this is community property (see
instructions)

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that mummber Here. ....sssssssssssssscsecseesesssesenanentnanrncnreceseesseanncnrreneca nanan ry ceeeene gt anat neg anes >

Schedule AJB: Property

Current value of the

Current value of the

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedufe BD:
Creditors Who Have Claims Secured by Property.
Current value of the

entire property? portion you own?

4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motarcycle accessories

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

a

 

Current value of the

entire property? portion you own?

Do not'deduct secured:claims or exemptions. Put
tie amount of any securediclaims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

Current value of the
portion you own?

Current value of the
entire property?

 

5 842,663.00

 

 

 

 

page 3

 
Debtor 1 allegos Case number ti#known

Rachel Gage 22-33282 Document5 Filed in TXSB on 11/01/22 ._Page 4of 10

 

First Name Middle Name Last Name

Bee v=o Your Personal and Household Items

 

Do you own or have any legal or equitable interest in any of the following items?

6, Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

UL No
Yes. Describe... Stove, Refrigerator, Apliances, sofas , 4 Beds , 4 dressers $ 5,000.00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections: electronic devices including cell phones, cameras, media players, games
No
C] Yes. Describe.......... 2TVs $ 2,000.00
8, Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, of baseball card collections; other collections, memorabilia, collectibles
iJ No
i Yes. Describe.......... $
g. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
id No
U) Yes. Describe.......... $
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No
(1 Yes. Describe.......... $

 

 

1

=

.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

CI No

 

1 Yes. Deseribe.......... 10 dresses , 10 pants , 10 coats

 

$ 1,000.00

 

 

 

12, Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

 

Wd No
C1 Yes, Describe...

 

 

 

43, Non-farm animals
Examples: Dogs, cats, birds, horses

WW No

 

( Yes. Describe..........

 

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

id No

 

QO Yes. Give specific
information, ......0

 

 

45. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

 

 

 

$ 8,000.00

ee

 

for Part 3. Write that number Here oo... ccsscssesenssessecssssstersnenenseocessssaeesseessanarsnesssensearsonsesnenananstagenaanscers4manssnsanse geaneen sagen sare ges ge0e

 

 

Official Form 106A/B Schedule A/B: Property

page 4

 
Rachel PASGiegos 3282 Document 5 Filed in TXSB on 11/01/22 Page 5 of 10

 

 

 

Debtor 1 ase number Uf snowo!
First Name Middie Name Last Name
a Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
partion you own? i
Do not deduct secured claims {
orexempticns. '
16.Cash
Examples: Money you have In your wallet, in your home, in a safe deposit box, and on hand when you file your petition
UC) No
WD Yes cccescsssescsscssessecscssessanceseersusesssesesuvesssussssnssctsvuetsseernqasceneseescaesoseersensessuieessuesesavensoiseessnaeessnseetsnectsaatesenantensads CASH, cesccuesneee = § 2,000.00

 

17.Deposits of money
Exampies: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

Wd No

DD Ves cece Institution name:

17.1. Checking account:

 

47.2, Checking account:

 

17.3, Savings account:

 

17.4. Savings account:

 

17.5, Certificates of deposit:

 

17.8. Other financial account:

 

fo fFf# fF 4 4 fF

17.7. Other financial account:

 

17.8. Other financial account:

 

wm

17.9, Other financial account:

 

18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

1 No

TD Yes eee Institution or issuer name:

 

 

 

19. Non-publicly traded stock and Interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and Joint venture

 

 

M1 No Name of entity: % of ownership:
C1 Yes. Give specific 0% %
information about Q
THEM... cccssesenetnteee 0% % _—_——
0% %

 

 

 

Official Form 106A/B Schedule A/B: Property page 5
Rachel i BGiddos 2782 Document 5 Filed in TXSB on 11/Q1/e2 Page 6 of 10

Debtor 1 number (known),

 

First Name Middle Name Last Name

 

 

20, Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders,
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
O Yes. Give specific Issuer name:

information about
THEM, wor ceeererereeeee $

 

 

 

.

21, Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b}, thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

No
Cl] Yes. List each
account separately. Type of account: Institution name:
404(k) or similar plan: S$
Pension plan: $
IRA: $
Retirement account: $
Keogh: Bo
Additional account: $e
Additlonal account: $
22. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company .

Examples: Agreements with landlords, prepaid rent, public ulllities (electric, gas, water), telecommunications

companies, or others

id No

DD YeS.occssseseeson Institution name or individual:
Electric: 5
Gas: 3
Heating cil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: 5
Water: $ \
Rented furniture: 5

 

Other.

 

23, Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
U1 No

DD) YeS.ucecccseee.  [88Uer name and description:

 

 

HAIL

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 6
Rachel & aSGidGos 2282 Document 5 Filed in TXSB On, 11/01/22 Page 7 of 10

Debtor 1 se NUMber tikrown)

 

First Name Middia Namie Last Name

 

t |
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b}(1), 529A(b), and 529(b)(1).

Mi No

DYES ernesetienensnssnne Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

YW No

U1) Yes. Give specific
information about them... $

 

 

 

 

26, Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

Yi No

C) Yes. Give specific
information about them... $

 

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

 

 

 

 

No
CU] Yes. Give specific
information about them... $
Money or property owed to you? Current value ofthe = |

portion you own?
Do not deduct secured

 

 

 

 

 

 

 

 

 

 

claims or exemptions.
28. Tax refunds owed to you
Wd No
Ol Yes. Give specific information Federal:
about them, including whether —————————
you already filed the returns State: $ ,
and the tax y@arS. vusccccscsccssessteees
Local, pe
29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, properly settlement
YW no
QO) Yes. Give specific information.............
Alimony: $
Maintenance: $
Support: 5
Divorce settlement: $
Property settlement: $
30. Other amounts someone owes you
Examples: Unpald wages, disability Insurance payments, disabllity benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpald loans you made to someone else
WU No
OC) Yes. Give specific information...............
$ _—__

 

 

 

 

 

fee tan ora PR A A = mr rn a

: Official Form 106A/B Schedule A/B: Property page 7
Rachel © 788i8558°282 Document Filed in TXSB op 11/91/22, Page 8 of 10
First Name Middle Name Last Name

Debtor 1

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

W1 No

QO) Yes. Name the insurance company Company name: Beneficiary: Surrender or refund value:
of each policy and list Its value. ...

 

 

32, Any Interest In property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, of are currently entitled to receive
property because someone has died.

No
QO) Yes. Give specific information............

 

 

 

 

 

33, Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

id No

C) Yes. Describe each claim. ......ee

 

 

 

 

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

i No

C1 Yes, Describe each claim. ........sesssesses

 

 

 

 

35, Any financial assets you did not already list

O No

QO) Yes. Give specific information..........

 

 

 

 

 

46. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that number here — sssntseupapssiatianieuauctinvienecisiapiinpieisisnassanetisnaneciacinustnnamanrenenseaniens DP $ 2,000.00

 

 

 

 

Co Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
1 No, Go to Part 6.
UO) Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned

J No
O Yes. Describe.......

 

 

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

id No
QO) Yes. Describe.......

 

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 8
S

First Name Middle Name Last Name

Debtor 1 ase num

40, Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

W No

OF (i know

Rachel Sr Bhiegos oe Document 5 Filed in TXSB on 11/01/22) Page 9 of 10

 

 

O) Yes. Describe.......

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

for Part 5. Write that number Were ........cceecsessssesssseserssesssneessessaneensessentacasarsvecssnersanenncnsesieeansssuunssnannernsarersensesoatsnnamanananeayenssneegaenerees

 

SB
41, Inventory
ff No
L) Yes. Deseribe......, ¢
42. Interests in partnerships or joint ventures
No
QO) Yes. Describe....... Name of entity: * % of ownership:
%, $
% $
% $ __
43, Customer lists, mailing lists, or other compilations
(¥ No
O) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C, § 101(41A))?
O No
QO) Yes. Describe........
$
44, Any business-related property you did not already list
id No
LI Yes. Give specific $
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00

 

 

 

 

If you own or have an interest in farmland, list it in Part 1.

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.

 

No, Go to Part 7.
O Yes. Go to line 47,

47, Farm animals
Examples: Livestock, poultry, farm-raised fish

WW No

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

iCurrent value of the
‘portion you own?

Do not deduct secured claims
or exemptions.

 

CD Ves ec cceseessrescccecsen

 

 

 

 

 

Official Form 106A/B Schedule A/B: Property

page 9

 
Debtor 1 Case number tif known)

 

First Name Middle Name Last Nama

48. Crops—either growing or harvested

U1 No

Rachel BE eos °7 Document 5 Filed in TXSB on. 11/01/22) Page 10 of 10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

C) Yes. Give specific
Information... $
49, Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
No
CD Ves cecceetetssscccsecseeen
3.
50.Farm and fishing supplies, chemicals, and feed
1 No
CL Y6S we ecccccssssssssesseee
$
61. Any farm- and commercial fishing-related property you did not already list
1 No
C1 Yes. Give specific
information. ccc $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
for Part 6. Write that number Pere o...csccscseessssssssceesssenssnesneennssersssunsnsssnennnenasetsannanresaatsnaregseescesuamananereeae een neers > TT
oe Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership .
Wi No
4
O Yes. Give specific $e
inFOrMATNON, ....s scree $
$_
54. Add the dollar value of all of your entries from Part 7. Write that number here ccecccunensaucaqasesanvaaeerernsysvesinanssessequnsesseies DP $e
List the Totals of Each Part of this Form
i
55, Part 1: Total real estate, [ime 2 sesvscsssccsssessessersstsstnsesassnsesteastasensennesstenrnrrattneenievanmanarvernennencerntenorstiunaqcnrsaanne ee ne > | $ 842,663.00
56. Part 2: Total vehicles, line 5 $ 0.00
57,Part 3: Total personal and household Items, line 15 $ 8,000.00
58. Part 4: Total financial assets, line 36 $ 2,000.00
59. Part 5: Total business-related property, line 45 $. 0.00
60. Part 6: Tota! farm- and fishing-related property, line 52 $ 0.00
61.Part 7: Total other property not listed, line 54 +S
62. Total personal property. Add lines 56 THrOUGN G1. .eceseererreeee $ 10,000.00 iCopy personal property total > +5 10,000.00
63, Total of all property on Schedule A/B. Add line 55 + iTVG GDacccccccessscecescesesveverarsececceressssneneneeseneaterenstaeceenseneneraeneesenneeas 3 852,663.00
Le cet eepe ee nt ee RR RR eR na Ac me a mum mt a seen ee we pean neuen nm oe catenin eae NE A A ethene reece
Official Form 106A/B Schedule A/B: Property page 10

 

 

 

 

 

 
